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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,        CR. NO. 08-20604
      v.                               HONORABLE ROBERT H. CLELAND
DONALD WALKER,

                     Defendant.
                                   /

                    ORDER ALLOWING COUNSEL TO
             USE COMPUTER FOR REVIEW OF DISCOVERY WITH
                     DEFENDANT DONALD WALKER


      IT IS HEREBY ORDERED that attorney Rafael C. Villarruel shall be allowed

to use his laptop computer and review discovery discs that have been produced by the

Government in this case, when he consults with Defendant Donald Walker at the St.
Clair County Jail;

      IT IS FURTHER ORDERED that the notice of this order shall be

accomplished by forwarding this order to the St. Clair County Sheriff and/or any other

personnel the Sheriff designates defense counsel to provide notice of this order.

      SO ORDERED.



                                        S/Robert H. Cleland
                                       ROBERT H. CLELAND
                                       UNITED STATES DISTRICT JUDGE

Dated: December 9, 2008
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 9, 2008, by electronic and/or ordinary mail.

                                        S/Lisa Wagner
                                       Case Manager and Deputy Clerk
                                       (313) 234-5522




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